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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:07CR3034
           v.                        )
                                     )
JOSE ANAYA-ZEPEDA and                )
MIGUEL ANGEL AYALA ARIAS,            )                   ORDER
                                     )
                Defendants.          )
                                     )



     IT IS ORDERED:

     Plaintiff’s unopposed motion to continue, filing 28, is
granted, and

     1. The deadline for plaintiff’s responsive brief is
extended to May 18, 2007.

     2. The portion of the suppression hearing regarding the
testimony of Lt. Dennis Leonard is continued to June 6, 2007
at 9:30 a.m.


     DATED this 17th day of May, 2007.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
